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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                    ROME DIVISION

IN RE: Curtis D Adams                                         CASE NO: 15-41813-mgd
Bobbi Jean Adams                                              JUDGE Diehl
Debtors

             MOTION TO INCUR NEW DEBT TO MODIFY MORTGAGE LOAN

       Movant shows as follows:

1.     Debtors filed this case August 3, 2015 which was confirmed May 2, 2016 with dividend to
       unsecured creditors of 100%..

2.     Debtors wish to incur new debt to modify their mortgage on the property located at 112
       Millstone Lane, Calhoun, GA 30701.

3.     A loan modification agreement has been executed by Rushmore Loan Management Services
       LLC, 7600227551; current payment $806.67, new payment $696.68, current interest rate
       8.125%, new interest rate 4.0%, current principal balance $68,350.69, new balance $87,317.91.


       Wherefore, Debtors pray that the Court look favorably on this Motion and that it enter an Order
approving the attached modification.

May 12, 2016


___/s_______________________________________
W. JEREMY SALTER
ATTORNEY FOR DEBTOR
STATE BAR NO.: 303979
P.O. BOX 1654
ROME, GA 30162-1654
(706)295-1300
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                   ROME DIVISION
IN RE: Curtis D Adams                                         CASE NO: 15-41813-mgd
Bobbi Jean Adams                                              JUDGE Diehl
Debtors

                                     NOTICE OF HEARING

     PLEASE TAKE NOTICE that Movant has filed a MOTION TO INCUR NEW DEBT
TO MODIFY MORTGAGE and related papers with the Court.

       PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the MOTION
TO INCUR NEW DEBT TO MODIFY MORTGAGE in Courtroom 342, United States
Courthouse, 600 East First Street, Rome, Georgia, at 10:00 AM on August 31, 2016.

         Your rights may be affected by the court’s ruling on these pleadings. You should read these
pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy case. (If
you do not have an attorney, you may wish to consult one.) If you do not want the court to grant the
relief sought in these pleadings or if you want the court to consider your views, then you and/or your
attorney must attend the hearing. You may also file a written response to the pleading with the Clerk
at the address stated below, but you are not required to do so. If you file a written response, you
must attach a certificate stating when, how and on whom (including addresses) you served the
response. Mail or deliver your response so that it is received by the Clerk at least two business days
before the hearing. The address of the Clerk’s Office is: Clerk, U.S. Bankruptcy Court, Room 339,
600 East First Street, Rome, Georgia 30161-3187. You must also mail a copy of your response to
the undersigned at the address stated below.

Dated: July 18, 2016




__/s/________________________________
W. JEREMY SALTER
ATTORNEY FOR DEBTORS
STATE BAR NO.: 303979
P.O. BOX 1654
ROME, GA 30162-1654
(706)295-1300
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                                    CERTIFICATE OF SERVICE

       This is to certify that I have this day served a copy of the foregoing Notice of Hearing and
Motion To Incur New Debt by first class U.S. Mail in a properly stamped and addressed envelope.

Chapter 13 Trustee                                     InstaLoan of Calhoun
Suite 2200                                             East, 262 GA-53
191 Peachtree Street                                   Calhoun, GA 30701
Atlanta, GA 30303-1901
                                                       InstaLoan of Calhoun
                                                       East, 262 GA-53
Curtis & Bobbi Adams
                                                       Calhoun, GA 30701
112 Millstone Lane, SE
Calhoun, GA 30701                                      Internal Revenue Service
                                                       PO Box 7346
Rushmore Loan Management Svcs                          Philadelphia, PA 19101-7346
15480 Laguna Canyon Rd
Irving, CA 92618                                       McCalla Raymer
                                                       1544 Old Alabama Rd.
                                                       Roswell, GA 30076
all entities on attached list
                                                       Verizon Wireless
July 18, 2016                                          P.O. Box 660108
                                                       Dallas, TX 75266-0001

__/s________________________                           Western Finance
W. JEREMY SALTER                                       142 W Belmont Dr
                                                       Calhoun,GA 30701
1st Franklin of Calhoun
P.O. Box 421                                           MTGLQ Investors, LP
Calhoun, GA 30701                                      Rushmore Loan Management Services
                                                       P.O. Box 55004
AT&T                                                   Irvine, CA 92619-2708
PO Box 537104
Atlanta, GA 30353

Chase Mortgage
P.O. Box 24696
Columbus, OH 43224

Exeter Finance Corp
P.O. Box 166008
Irving, TX 75016

Georgia Department of Revenue
PO Box 161108
Atlanta, GA 30132
